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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,

v.                                                     Case No.: 8:25-CV-00951-PX

Kristi Noem, et al.,

                       Defendants.


                       Plaintiffs’ Opposition To Defendants’ Motion
                For An Extension Of Time To Complete Expedited Discovery

       Plaintiffs respectfully oppose the Government’s motion for yet another extension of time

within which to comply with this Court’s orders directing expedited discovery in this matter.

       On April 16, the Court ordered the parties to conduct and complete expedited discovery in

two weeks, directing them to “cancel vacation” and “other appointments” to get it done. April 15,

2025 Tr. 27:11-12. The discovery was intended to answer three basic questions regarding Kilmar

Abrego Garcia’s custodial status and whether efforts have been made or will be made to comply

with the Court’s order to facilitate his release. Over a month later, after proffering witnesses

without knowledge of these basic questions, asserting a hodgepodge of privileges in a facially

defective log and only producing 34 actual documents (apart from photocopies of pleadings and

the like), the parties returned to Court on May 16, where the Government was ordered to complete

its supplemental production by tomorrow.

       Yet in the past two weeks the Government produced one and only one document, an

apparently incomplete copy of the EARM file relating to Abrego Garcia’s 2019 immigration

proceedings. Defendants have still refused to produce any documents reflecting or even relating

to any efforts to facilitate Abrego Garcia’s release and return. This is far from a good faith effort


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to comply with court ordered discovery. It is reflective of a pattern of deliberate delay and bad

faith refusal to comply with court orders. The patina of promises by Government lawyers to do

tomorrow that which they were already obligated to do yesterday has worn thin.1

                                         *      *       *

       On March 15, 2025, Abrego Garcia was illegally removed to El Salvador. Noem v. Abrego

Garcia, 145 S. Ct. 1017, 1018 (2025). He has remained there for 75 days, and counting.

       After the Supreme Court affirmed this Court’s Order requiring that the Government

“‘facilitate’ Abrego Garcia’s release from custody in El Salvador,” on April 15, the Court ordered

expedited discovery “to ascertain what, if anything, the Defendants have done to” that end “‘and

to ensure that his case is handled as it would have been had [Abrego Garcia] not been improperly

sent to El Salvador.’” Dkt. 79 (quoting Noem, 145 S. Ct. at 1018). The Court instructed that “there

are no business hours while we do this. It’s going to be two weeks of intense discovery.” April

15, 2025 Tr. 14:24-15:1.

       More than six weeks have now passed and the Government’s discovery efforts have barely

gotten off the ground. Instead, the Government has engaged in a pattern of intentional stonewalling

and obfuscation—all in service of delaying the inevitable conclusion, which is that it has not done

anything to facilitate Abrego Garcia’s return. More time will not change this, but it will multiply

the prejudice to Abrego Garcia, who remains in unlawful custody in El Salvador.




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            The Government states that it “attempted to contact Plaintiffs to obatain [sic] their
position on this motion, but were not able to obtain their position.” In fact, while the parties
conferred on discovery matters over e-mail and phone over the course of the past week, including
yesterday, the Government did not raise its extension request until 11:35 p.m. last night, and then
filed its motion an hour later without waiting for Plaintiffs’ response. See Ex. A.


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       The Government’s pairs its application with a “notice of partial compliance” apparently

meant to showcase its “diligence” to date, but the record, even as summarized by the Government,

instead reflects a pattern of misdirection and delay.

       Even before the Government persuaded the Court to impose a one-week stay of discovery,

it violated the April 21, 2025 deadline to serve answers and responses to Plaintiffs’ interrogatories

and document requests. Dkt. 79. The Government’s discovery responses were incomplete,

requiring motion practice. See Dkt. 98.

       Following the discovery stay, the Court ordered Plaintiffs to serve amended interrogatories

on April 22, and the Government to respond by April 23. Dkt. 100. Over a month later, the

Government still has not completely responded to those interrogatories. Interrogatories 1-5 remain

outstanding.

       The Government has had Plaintiffs’ document requests since April 16, or over six weeks.

According to the Government’s own tabulation (Mot. at 3), they have reviewed—not produced—

a total of 3,574 documents in that timeframe. That is an average review pace of just 83 documents

per day.

       The document productions the Government has made to date have been makeweight:

      Their first production comprised 58 documents, 56 of which were copies of docket entries
       or discovery requests.

      The second production comprised 106 documents, 76 of which were publicly available
       docket filings, transcripts, materials related to Abrego Garcia’s 2019 immigration
       proceedings, or plaintiffs’ discovery requests.

      The third production, made just last night, comprises just 1 document, Abrego Garcia’s
       EARM file. This document, too, does not provide any information pertaining to Abrego
       Garcia’s March 2025 arrest or his removal. Further, based on Robert L. Cerna’s deposition
       testimony, it appears that the version of the file that has been produced to us may be
       incomplete. See Cerna Tr. 50:13-17.




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       In sum, in the more than six weeks since this Court ordered expedited discovery, the

Government has produced just 165 documents, most of them court filings and related materials

that surely took no time to review. The Government has produced just 1 document since the May

16 deadline that fixed the operative document production deadline. Zero documents produced to

Plaintiffs to date reflect any efforts made to facilitate Abrego Garcia’s release and return to the

United States.

       Other defects in the Defendants’ approach to document discovery—and their persistent

stonewalling—undermine their complaints of burden and give Plaintiffs grave concerns that

relevant materials are being searched and produced. The Government has engaged in questionable

discovery processes, such as allowing each agency to self-select repositories for review and

production. See Dkt. 143 at 2. Despite Plaintiffs’ persistent requests for search term reports since

May 1, the Government has been unable to share any report that would shed light on whether

searchable sets were compiled in a forensically sound manner. See Ex. A. The Government has

produced no mobile or other instant messaging communications, despite promising to do so.

       All of this should be viewed in the context of Defendants’ overall approach to discovery in

this case. The Government’s list of “extremely burdensome” tasks it has completed to date includes

basic conferrals with Plaintiffs; the filing of a state secrets declaration that recycles boilerplate

references to the sensitivity of diplomatic discussions; review of 1,100 documents withheld as

privileged; purporting to clean up their own patently insufficient privilege log; and the

“preparation” of deposition witnesses who, as this Court knows, had nothing useful to say about

any of the primary areas of inquiry. Simply put, the Government has failed to discharge its

obligations under this Court’s discovery orders and has come nowhere close to establishing cause,

much less good cause, for a further extension of time.




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      The Court should deny the Government’s motion.



Dated: May 29, 2025

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